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 Attorney for Plaintiff


              united states district court
                                district of wyoming

 JL Wilkins,                                           No. 1:22-cv-00204

                                  plaintiff;           Complaint for Violation of Titles VI, VII,
         v.                                            and IX of the Civil Rights Act of 1964,
                                                       Deprivation of First and Fourteenth
 The University of Wyoming; Ed Seidel, in              Amendment Rights pursuant to 42 U.S.C.
 his official capacity as President of the             § 1983, Violation of Wyoming Statute 27-9-
 University of Wyoming; Kim Chestnut, in               105 Prohibiting Discrimination in
 her official capacity as Interim Vice President       Employment, and Violation of University
 for Diversity, Equity, and Inclusion; Parag           of Wyoming Regulation 4-1.
 Chitnis, in his official capacity as Vice
 President for Research and Economic
 Development; and H. Victoria Bryant, in her
 official capacity as Director of the Wyoming
 Technology Transfer and Research Products
 Center

                                defendants.

Plaintiff JL Wilkins alleges:
                                     introduction
1. In May 2015, Mr. Wilkins began working for the Wyoming Technology Transfer and
    Research Products Center (“RPC”) at the University of Wyoming as a paid intern Patent
    Research Analyst.



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2. Mr. Wilkins’s internship was during the time in which he was in law school at the University
   of Wyoming College of Law.
3. Mr. Wilkins graduated from the University of Wyoming College of Law in May 2017 with his
   juris doctor and was admitted to the Wyoming Bar (#7-5856) on September 29, 2017 as a
   licensed attorney.
4. The University of Wyoming retained Mr. Wilkins as an Intellectual Property Analyst as an
   employee for the next four years until September 8, 2021.
5. The University of Wyoming terminated Mr. Wilkins in retaliation for filing a discrimination
   complaint he filed earlier in 2021.
                                          the parties
6. JL Wilkins (his legal name), né Jeffrey Lynn Wilkins, a.k.a. Jeffrey L. Wilkins, is a citizen of
   Pennington County, South Dakota.
7. The University of Wyoming and its departments, including the Wyoming Technology
   Transfer and Research Products Center, are altogether a political subdivision of the State of
   Wyoming, established under the State Constitution. See Wyo. Const. art. 7, § 15; see also
   Wyo. Stat. § 21-17-101.
8. Defendants Ed Seidel, Kim Chestnut, Parag Chitnis, and H. Victoria Bryant are president,
   interim vice president for diversity, equity and inclusion, vice president for research and
   economic development, and director of the RPC, respectively. Each defendant is sued in his
   or her official capacity for the University of Wyoming.
                               jurisdiction and venue
9. Subject Matter Jurisdiction. This case is within the original jurisdiction of this Court
   pursuant to 28 U.S.C. §§ 1331 and 1343.
10. Supplemental Jurisdiction. This Court also has supplemental jurisdiction under 28 U.S.C.
   § 1367(a) over the other non-federal question claims in this case because they are so related to
   the federal claims that they form part of the same case or controversy.
11. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)–(2), (c)(2),
   because Defendant is deemed to reside in the District and because a substantial part of the

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   events and omissions giving rise to Plaintiff’s claims occurred in this District.
                                             facts
12. At the time JL Wilkins was offered an internship at the University of Wyoming RPC on May
   20, 2015, then-Director Davona K. Douglass noted that although the position was only
   through summer 2015, the RPC would “evaluate our budget and our personnel situation to
   determine if we can extend your position here.”
13. In fact, Mr. Wilkins’s internship continued through the end of law school (May 2017)
   because Director Douglass was impressed with his qualifications and capabilities.
14. Thereafter, the University of Wyoming RPC extended Mr. Wilkins the opportunity to
   continue as a paid part-time employee on an indefinite basis because Director Douglass
   expressed an even stronger interest in retaining Mr. Wilkins based on his demonstrated skills
   and abilities.
15. The University of Wyoming gave Mr. Wilkins an hourly pay increase after he converted from
   an intern to a non-benefitted employee.
16. During the entirety of Mr. Wilkins’s employment with the RPC after he converted from an
   intern to a part-time employee, i.e., from May 2017 onward, he had routinely requested the
   opportunity to take full-time benefitted employment with the RPC.
17. To wit, Mr. Wilkins and one of his supervisors, Tiffany Brooke Bishop, regularly discussed
   potential opportunities for his advancement.
18. Mr. Wilkins repeatedly expressed sincere willingness to expand to any full-time benefitted
   position.
19. Mr. Wilkins’s desire to expand to full-time employment was because—
   a. He demonstrated exceptional skill;
   b. He enjoyed working for the University of Wyoming;
   c. He was routinely praised for his work quality, overall performance, and disposition; and
   d. He has suffered from a degenerative vision condition—known to the University—which
       made the prospect of full-time benefitted employment with the University of Wyoming
       more helpful for him than other positions elsewhere might have been.

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20. Mr. Wilkins is a man.
21. Mr. Wilkins is a Christian.
22. Although Mr. Wilkins is of part Native American descent, he primarily identifies as white.
23. Mr. Wilkins is heterosexual.
24. Despite Mr. Wilkins’s skill, enjoyment, performance in, and repeated expressions to elevate
   the station of his employment at the RPC, the University of Wyoming reduced his hours,
   denied him the opportunity to apply for various promotions, and eventually terminated him.
25. Ms. Bishop routinely praised Mr. Wilkins’s work and told him many times (verbally and in
   writing) that she would lobby for his promotion.
26. Ms. Bishop, as a Project Coordinator and his supervisor, also told Mr. Wilkins directly in a
   personal meeting that he would have to find a way to “check a box”—meaning fit into a non-
   straight-white-male-Christian category—if he wanted to move up at the University of
   Wyoming.
27. It is important to note that Ms. Bishop never personally endorsed this internal discrimination
   at the University of Wyoming, but she unequivocally confirmed its existence.
28. By stating that Mr. Wilkins needed to “check a box,” Ms. Bishop meant two things:
   (a) because Mr. Wilkins is a straight white Christian man—and therefore lacking in apparent
   diversity to satisfy internal hiring goals—his employment and promotion were impermissibly
   and unlawfully disfavored; and (b) if he were more willing to lean on his degenerative eye
   condition as a disability, she could use that to help get him promoted despite the fact that his
   status as a white Christian man made it difficult to lobby for him internally.
29. The University of Wyoming was already aware of and accommodating Mr. Wilkins’s physical
   disability, which prevents him from unassisted travel, through a remote-work arrangement
   that started with his employment and long predated the work-from-home arrangements that
   became commonplace during and after the COVID-19 pandemic.
30. The gist of Ms. Bishop’s statements were that once JL Wilkins had become “disabled
   enough,” i.e., once his vision condition had sufficiently degenerated, he would “check the
   [disabled] box” and become promotable within the internal culture of the University of

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   Wyoming.
31. Ironically, Ms. Bishop was promoted to the position of Senior Project Coordinator, a position
   which was specially made for her without considering anyone else.
32. Mr. Wilkins, based on his academic background and experience, was more than qualified to
   take over the full-time Project Coordinator role left empty by Ms. Bishop’s elevation.
33. However, the University of Wyoming RPC summarily eliminated the Project Coordinator
   position.
34. Meanwhile, Mr. Wilkins’s peer, H. Victoria Bryant, who had similar qualifications (e.g., law
   degree) as Mr. Wilkins and had been doing the same job, was first promoted to be the
   assistant department director on an emergency basis on or about September 2018 without
   circulation of the job description or allowing others to apply according to standard University
   hiring policy and procedure which calls for a “competitive recruitment process for benefitted
   staff positions.”
35. Although the University of Wyoming rationalized its emergency promotion of Ms. Bryant as
   having “utilized the proper University procedure to address [its] urgent need by executing a
   direct hire of an Assistant Director,” the previous director had left in January 2018, a full
   nine months before Bryant was promoted on a so-called emergency basis.
36. The University of Wyoming’s “business necessity” exception to its standard hiring policy
   requires a “sudden death, resignation, termination, or long-term illness of an incumbent
   occupying a position that is both time-sensitive and critical to the institution’s mission.”
   (Emphasis added.)
37. The previous director, Ms. Douglass, did not resign suddenly. She gave sufficient, if not
   extraordinary, notice.
38. The University’s use of its business necessity exception was a pretext to hiring its preferred
   candidate, Ms. Bryant, without having to go through a competitive recruitment process that
   would have necessarily involved Mr. Wilkins (and others).
39. Thereafter, Ms. Bryant was promoted to be the interim director of the RPC under the same
   pretextual auspices of “business necessity,”—and then finally to be the full director of the

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   RPC, again without a competitive recruitment process.
40. Mr. Wilkins was, on a purely meritocratic basis, similarly qualified as Ms. Bryant to occupy
   the same position. Unfortunately, the way he was born, including his skin color and sex, and
   his solemnly held personal beliefs are not de rigeur enough for the University of Wyoming
   RPC.
41. Upon Ms. Bryant’s elevation to interim director of the RPC, the assistant director position—
   one that Mr. Wilkins most certainly would have applied for—was summarily eliminated.
42. Ms. Bryant, as one of Mr. Wilkins’s supervisors since September 2018, has repeatedly shown
   animosity toward him, including refusing to respond to his emails for months at a time and
   excluding him from meetings.
43. Ms. Bryant cut Mr. Wilkins’s hours by over 90%.
44. When Mr. Wilkins refused to quit, Bryant withheld the work that filled the remaining 10%.
45. The day after Ms. Bryant was promoted to full director, the University of Wyoming fired Mr.
   Wilkins completely from his position with no explanation.
46. The University of Wyoming hired a chief diversity officer who required Mr. Wilkins to take
   diversity training in October 2019 as a condition of his employment, steeped in critical race
   theory (“CRT”).
47. Furthermore, the University required all trainees to agree with this ideology before it would
   consider the training complete.
48. That course also requested Mr. Wilkins’s feedback at its conclusion. He gave his honest
   feedback, in which he strenuously opposed CRT because it is the “antithesis of Dr. [Martin
   Luther] King’s teachings,” because it overtly promotes the evaluation of skin color over the
   content of one’s character. He found the training to be blatantly racist, sexist, and bigoted.
49. Mr. Wilkins’s feedback became part of his permanent employment record at the University
   of Wyoming.
50. Thereafter, Mr. Wilkins was never given a meaningful opportunity for advancement or
   promotion, in part because the University of Wyoming was committed to disallowing his
   advancement because of his sex, race, and religion, and in part out of retaliation for his

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   expression of his negative beliefs about CRT.
51. The discrimination that Mr. Wilkins has suffered at the hands of the agents of the University
   of Wyoming began on May 16, 2018 and continued through his termination on September 8,
   2021.
52. Mr. Wilkins filed a written joint complaint with the Equal Employment Opportunity
   Commission (Charge #32K-2021-00072) and Wyoming’s fair employment practices agency,
   the Department of Workforce Services (Charge #047-2021) on July 8, 2021, for
   discrimination on the bases of race, sex, and religion, and retaliation, attached as Exhibit A.
53. While this first EEOC/Wyoming FEPA investigation was ongoing, the University of
   Wyoming terminated Mr. Wilkins without cause and in direct response to his discrimination
   and retaliation complaint.
54. Thereafter, Mr. Wilkins filed a written joint complaint with the EEOC (Charge #32K-2021-
   00100) and Wyoming’s fair employment practices agency, the Department of Workforce
   Services (Charge #068-2021) on November 4, 2021, for retaliation, attached as Exhibit B.
55. The EEOC issued Mr. Wilkins a Notice of Right to Sue on Charge #32K-2021-00072, which he
   received in hand on June 29, 2022, less than 90 days from the date of the filing of this
   complaint, attached as Exhibit C.
56. The EEOC also issued Mr. Wilkins a Notice of Right to Sue on Charge #32K-2021-00100,
   which he received in hand on June 29, 2022, less than 90 days from the date of the filing of
   this complaint, attached as Exhibit D.
57. In their official capacities, Defendants Seidel, Chestnut, Chitnis, and Bryant (and/or their
   official predecessors) either directed, approved, ratified, or otherwise suborned the actions
   and omissions of the University of Wyoming as described above in paragraphs 1–56.
                                            claims
58. Each claim set forth below adopts paragraphs 1–57.
                 Claim I: Violation of Title VII of the Civil Rights Act of 1964
                             (42 U.S.C. § 1981a & § 2000e et seq.)
59. The University of Wyoming’s practices and actions, as set forth under paragraphs 1–57,

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   above, constitute unlawful employment discrimination against JL Wilkins under Title VII of
   the Civil Rights Act of 1964, and in particular under 42 U.S.C. § 2000e-2.
60. Based on the assistant director position the University of Wyoming unlawfully precluded JL
   Wilkins from applying for and obtaining, he suffered lost profits (salary) over four years of no
   less than $307,254.50 due to the University of Wyoming’s discrimination and retaliation.
61. Furthermore, Mr. Wilkins would likely have worked for the University of Wyoming in the
   same position for another three years after September 2021, and thereby would have earned
   no less than $267,375 but for the University of Wyoming’s retaliatory termination of Mr.
   Wilkins.
62. Mr. Wilkins is also entitled to compensatory (nonpunitive) damages of $300,000 pursuant to
   42 U.S.C. § 1981a(a)(1), (b)(3)(D).
                          Claim II: Violation of Wyo. Stat. § 27-9-105
63. Plaintiff also readopts paragraphs 60–61.
64. In discriminating against, retaliating against, and terminating JL Wilkins, the University of
   Wyoming violated the Wyoming state statute prohibiting discriminatory and unfair
   employment practices, viz. Wyo. Stat. § 27-9-105.
                Claim III: Violation of University of Wyoming Regulation 4-1
65. In discriminating against, retaliating against, and terminating JL Wilkins, the University of
   Wyoming violated its own regulation 4-1 prohibiting discrimination and retaliation.
                Claim IV: Violation of Title VI of the Civil Rights Act of 1964
                                   (42 U.S.C. § 2000d et seq.)
66. Plaintiff also readopts paragraphs 60–61.
67. The University of Wyoming is a “program or activity” that “receives Federal financial
   assistance” within the meaning of Title VI of the Civil Rights Act of 1964.
68. The University of Wyoming’s practices and actions, as set forth under paragraphs 1–57,
   above, constitute unlawful discrimination against JL Wilkins under Title VI of the Civil
   Rights Act of 1964, and in particular under 42 U.S.C. § 2000d.
69. Mr. Wilkins is entitled to damages at law under § 2000d-7.

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                 Claim V: Violation of Title IX of the Civil Rights Act of 1964
70. Plaintiff also readopts paragraphs 60–61 and 67.
71. The Title IX common rule broadly prohibits “discrimination in employment, or recruitment,
   consideration, or selection therefor, whether full-time or part-time, under any education
   program or activity operated by a recipient that receives Federal financial assistance.”
72. The University of Wyoming’s practices and actions, as set forth under paragraphs 1–57,
   above, constitute unlawful discrimination against JL Wilkins under Title IX of the Civil
   Rights Act of 1964.
73. The University of Wyoming’s practices and actions, as set forth under paragraphs 1–57,
   above, were intentional.
74. Damages are available to plaintiffs for defendants’ intentional violation of Title IX.
75. Therefore, JL Wilkins is entitled to damages for the University of Wyoming’s intentional
   violation of Title IX.
   Claim VI: Deprivation of Fourteenth Amendment Rights pursuant to 42 U.S.C. § 1983
76. Plaintiff also readopts paragraphs 60–61.
77. In discriminating against, retaliating against, and terminating JL Wilkins, the University of
   Wyoming violated his Fourteenth Amendment guarantees to equal protection under the law.
78. Plaintiff is entitled to redress of such violation under 42 U.S.C. § 1983.
      Claim VII: Deprivation of First Amendment Rights pursuant to 42 U.S.C. § 1983
79. In retaliating against JL Wilkins for his expressive negative beliefs about critical race theory,
   the University of Wyoming violated his First Amendment guarantee to freedom of speech.
80. In denying JL Wilkins advancement in employment in part or in whole because of his
   Christian beliefs, the University of Wyoming violated his First Amendment guarantee to
   freedom of religion.
81. Plaintiff is entitled to redress of such violations under 42 U.S.C. § 1983.




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                                 prayer for relief
wherefore, Plaintiff JL Wilkins requests that the Court:
   A. Enter judgment against Defendants for each of the claims set forth above;
   B. Award damages to JL Wilkins in an amount no less than $874,619.50;
   C. Award interest to JL Wilkins as allowed;
   D. Award attorneys’ fees to JL Wilkins;
   E. Award costs of this action to JL Wilkins;
   F. Provide any other and further relief as this Court shall deem just and proper.
Plaintiff demands trial by jury on all issues so triable.


Respectfully submitted this 19th of September, 2022.

    /s/ O. Shane Balloun
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                                                               Wyoming Fair Employment Program                                                                        and EEOC
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       Name ,md1car" Mr Ms Mrs)                                                                                          Home Phone      ··~ Area Codr·J            Date of 811"11

        Mr. Jeffrey L. Wilkins
       Street Address                                                                  City, State and ZIP Code
                                                                                                                     I      (307) 399-1500                            1974

       514 America's Way #8479, Box Elder, SD 57719

       Named is the Employer, labor Organrzat1on, Employment Agency, Apprent1cesh1p Committee, or Stale or local Government Agency That I Believe
       D1scnm1nated Against Me or Others. (If more than two. /1st under PARTICULARS below.)
       Name                                                                                                              No !"-01oy....., Members   I   Phone No (Include Area Code)

       UNIVERSITY OF WYOMING
       Street Address                                                                  City. State and ZIP Code
                                                                                                                     I    500 or More                      (307) 766-4997

       C/O Office Of General Counsel, 1000 E. University Avenue, Dept 3434, Laramie, WY 82071

       Name                                                                                                          I   No Employees. Momber.      I   Phone No (Include Area Code)



       Street Address                                                                 City, State and ZIP Code




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          [!] RETALIATION D                      AGE     D       DISABILITY           D       GENETIC INFORMATION

                        D      OTHER (Specify)                                                                                            D         CONTINUING ACTION

       THE PARTICULARS ARE (If addlflOnal paper is needed. attach 11xtra sheet(sJJ
        PERSONAL HARM: I was denied a promotion. My hours were cut.

        RESPONDENT'S REASON FOR ADVERSE ACTION: Full time benefitted employees are prohibited
        from working remotely and funding changes.

       DJSCRJMINATION STATEMENT: I believe I have been discriminated against on the basis of my sex,
       male, my sexual orientation, race, white, and religion, Christian. and retaliated against in violation of Title VII
       of the Civil Rights Act of 1964, as amended, and the Wyoming Fair Employment Practices Act of l 965, as
       amended.

         Specifically:

              1. I am a member of the protected groups, male, White, and Christian.

            2. I engaged in protected opposition to Title VII discrimination.

            3. I suffered           an adverse action by the employer subsequent to or contemporaneous with the protected
                     activity.

                     a. I was denied a promotion.
                     b. My hours MR cut.
  -
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                                                                              complaint
wilkins v. university of wyoming et al.                                        exhibit a                                                                     1:22-cv-00204



            4 . T here exists a causal connection between my protected activity and the employer's actions.

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               JUL 08;




     State of Montana
     Countyof ~Qc\L

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    Name (indicate Mr. Ms . Mrs J                                                                                        Home Phone (Incl Area Code)             Da:e of 81 ':h
    Mr. Jeffrey L. 'Nilkins                                                                                                 (307) 399-1500                         1974
    Street Address
                                                                                    City. Stale and ZIP Code

    514 America's 'Nay, #8479, Box Elder, SD 57719

    Named .is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee. or State or Local Government Agency That I Believe
    D1scrminated Against Me or Others. (If more than two list under PARTICULARS below)
    Name                                                                                                                 No ErnP'Oy•••. M""1ber<     Phone No (Include Area Code)

    UNIVERSITY OF WYOMING                                                                                                 500 or More                   (307) 766-4997
    Street Address                                                                  City. State and ZIP Code

    c/o Office of General Counsel, 1000 E. University Avenue, Dept. 3434, Laramie, WY 82071

     Name                                                                                                                No Employees. Mombe<s       Phone No (Jnelude Area Code)



                                                                                    City, State and ZIP Code




    DISCRIMINATION BASED ON (Check appropriate box(es))                                                                          DATE(S) DISCRIMINATION TOOK PLACE
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            [!]      RETALIATION          D       AGE    D      DISABILITY         D           GENETIC INFORMATION

                      D        OTHER (Spec:ily)                                                                                          D         CONTINUING ACTION

    THE MRTICUl.ARS ARE (1f MJdiliona/ paper is needed. attach extn sheet(s)):




      PERSONAL HARM: I was discharged.

      ~ENrS                            REASON FOR ADVERSE ACTION: Unknown.

      DISClllMINATION STATEMENT: I believe I have been retaliated against in violation of Title VII of the
      Civil Rights Act of 1964, as amended, and the Wyoming Fair Employment Practices Act of 1965, as
      llWIJ(le<f

        Spr.citiadly:
            1.., pl in pmteCted opposition to Tide VII discrimination;




                                                              belweei1 my complaint and my employer's decision to discharge me.
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wilkins v. university of wyoming et al.                                     exhibit b                                                             1:22-cv-00204




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                                                                                                                    MARJORIE DILLO~~­
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                                                                                                                         MARCH 24. 2025




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                                              NOTICE OF RIGHT TO SUE (fSSUHJ) ON ReQu1.;.c;1)
    To        Mr. Jeffrey L Wiikins                                                   forom .    Phoenix District O ffice
              S l4 America's Way 118419                                                          3300 North Central Avenue, Suite 690
              Box Elder, SD 511 19                                                               Phoenix, AZ 85012


   fEOC Charge No.                                        l~ EOC   Rcprcsentat1vc
                                                                                                                                  I clcphonc So.
   321<-202 1-00072                                       Robin Campbell,                                                         602-661-0041
                                                          State, Local & Tribal Progr am Manager

                                                                                                 (See a/To t he add11101wl 111/ormot1on enclofed w11h th11 /orm J
 NOTICE TO T HE P ERSON AGGRIEVED:
T itle VII of the C ivil Rights Act of 1964, the Americans with Disabilities Act (ADA), o r the Genetic Inform ation Nondiscrimination
Act (GJNA): This is your Notice of Right to Sue, issued under Title Vil, the ADA o r GINA based on the above-numbered charge . l\ has
been issued at your reques1. Your laws uit under Title Vil, the ADA or GTNA mui1t be filed in a federal o r state court WITHIN 90 DAYS
of your receipt of this notice; or your right to s ue based o n this charge will be lost. (The time limit for filing suit based on a c\a1m und
s tate law may be diffcren1.)
         More than \ 80 days have passed since the filing of this charge.
         The EEOC is tenninating ilS processing of this charge.



  Equal Pay Act (EPA): You already have the right to sue under the EPA {filing an EEOC charge is not required.) EPA suits must he brought
  m federal or state court within 2 years (3 years/or willful violations) ofthe alleged EPA underpayment. This means 1ha1 hackpay due for
  any violations tllat occurred more tlra11 2 vears (3 vears) before you file suit may n ot be collectible.


   lf you file suit, based on this charge, please send a copy o f your court complaint lo this o ffice.

                                                       On behalf of the Commission


                                                                                    06/1612022
      Enclosures(s)                                    Melinda Caraballo
                                                       /\cling District Director


         cc     Phillip J . Wille




                                                                            complaint
         wilkins v. university of wyoming et al.                             exhibit c                                                  1:22-cv-00204
                          Case 2:22-cv-00204-NDF Document 1 Filed 09/19/22 Page 16 of 16

                                       . . EQ    AL EMPLOYMENT OPPORTL '\IT \ C0'1~11                         10 '\

                                       NOTICE OF RJGHT TO S E {ISSUED O.V R EQuEST)
  To:   Mr. Jcffrc) L. Wilkins                                                   From:       Phocni>. District Office
        5 14 Amcdca's \\ia), #8479                                                           JJOO North Central Aunuc. Suite 690
        Bo>. Elder, SD 57719                                                                 Phocni'I, \1. 8SO 12


  EEOC Charge 'lo.                                    EEOC Rcprcscnmti'.e                                                    Telephone '\o.
  321<-2021..00 100                                                                                                          602-661~ 1
                                                     Robin Cam pbell,
                                                     St11tc. Ulcal & Tribal Program \tanager
                                                                                             (S.:• also t~ aJJ111onal mjorrnat1on tnc/o'<~d" 11/t thu form )

NOTICE TO TllE P ERSO'\ ACCRU:\'ED:
T itle Vfl o f the Civil Rights Act of J 964, the Americans ~ilh Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (G INA): lnis is )Our Notice of R ight 10 Sue, issued under fitlc VII , the ADA or GINA based on the abo\e-numbcf\.'d charge. lt has
been issued at your request Your la"suit under Title VII, the ADA or GINA mus t be filed in 11 federal or state court WlTHIN 90 DAV
o f your r;;eeipt of th is notiC\:; or )OUr right to ·uc based on this charge will bC' lost. ( Inc time limit for ftling suit baseJ on a claim under
state law   may be different.)
        More lhan 180 days have p~ed smcc lhe filing oflhis charge
        The EEOC is terminating its p~ing of this charge.



 Equal Pay Act (£Pt): l ou already haw! the rtght 1osue wider the EPA (filing an EEOC charge is not required) EPA suiJs must be brought
 in federul or state court "ithin 1 years (3 years for willful \'IOlations) ofthe alleged £P .f underpayment This means that bodpay dJle for
 any ''iolations that occurred n1t>re than 2 rears (3 rears) before you file suit may n ot be collecrible.



  If you file suit_ based on this charge. please send a copy of> our court complamt to this office.

                                                 On behalf of the Commission


                                                                              06 lt\:?02.l
    Endosurcs(.s)                                Melinda Caraballo
                                                 Ac:ting Distric:t Dirtttor



            ~la ~' Deputy General Counsel
             DJYerstty of Wyoming
                                                                     complaint
     wilkins v. university of wyoming et al.                          exhibit d                                                     1:22-cv-00204
